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FILED
CLERK, U.S. DISTRICT COURT

Brendan P. Egan,

JUN ~ 4 2025
Plaintiff,
CENTRAL DISTRICT OF CALIFO
-ORN
. BY DEPUTY

Scott Bessent, in his official capacity as Secretary of the U.S. Department of the Treasury,
Defendant.

Case No. 8:29-ov-c1225-30S-COtMx) | TD Case No. IRS-24-0882

COMPLAINT FOR EMPLOYMENT DISCRIMINATION

JURY TRIAL DEMANDED

1. Jurisdiction

This Court has jurisdiction over this action under Title VII of the Civil Rights Act of 1964 (42 U.S.C. §
2000e-16), the Age Discrimination in Employment Act (29 U.S.C. § 633a), and the Rehabilitation Act
of 1973 (29 U.S.C. § 791). Venue is proper because the discriminatory acts occurred in this district.
2. Parties

Plaintiff: Brendan P. Egan

Address: 143 Playa Cir, Aliso Viejo, CA 92656

Phone: (949) 648-1411

Email: csusanberdu @ yahoo.com

Defendant: Scott Bessent, in his official capacity as Secretary of the U.S. Department of the
Treasury.

3. Statement of Facts

Plaintiff was employed as a Revenue Officer with the Internal Revenue Service beginning in
September 2023. Plaintiff was denied reasonable accommodations and subjected to a hostile work
environment based on age and mental disability. Plaintiff was constructively discharged on May 20,
2024. Plaintiff filed an EEO complaint (IRS-24-0882) and received a Final Agency Decision on or

about May 5, 2025.
Case 8:25-cv-01225-DOC-DFM Document1 Filed 06/04/25 Page2of5 Page ID#:2
Brendan P. Egan

143 Playa Cir

Aliso Viejo, CA 92656

(949) 648-1411

csusanberdu @ yahoo.com

June 01, 2025

Clerk of the Court

United States District Court

Central District of California - Santa Ana Division

Ronald Reagan Federal Building and U.S. Courthouse

411 West Fourth Street, Room 1053

Santa Ana, CA 92701

Re: Filing of Civil Rights Complaint - Request for In Forma Pauperis and Appointment of Counsel
Dear Clerk,

Enclosed please find the following documents for filing in the above-referenced court:
1. Civil Rights Complaint

2. Application to Proceed In Forma Pauperis

3. Motion for Appointment of Counsel

Please file these documents and assign a case number. If any additional information or corrections
are needed, do not hesitate to contact me by phone or email.

Sincerely,

Brendan P. Egan

TD Case No. IRS-24-0882
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4. Claims for Relief

- Age discrimination under the Age Discrimination in Employment Act
- Disability discrimination under the Rehabilitation Act

- Hostile work environment

- Constructive discharge

5. Relief Requested

Plaintiff respectfully requests the following relief:

- Reinstatement to a comparable position

- Compensation for emotional distress and related expenses
- Costs and attorney's fees

- Any other relief the court deems just and proper.

Respectfully submitted,

Brendan P. Egan

Dated: June 01, 2025

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Filed 06/04/25 ©

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Filed 06/04/25

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